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                        EXHIBIT 14
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 In re:                                  §
                                         §
 GALLERIA 2425 Owner, LLC                        Case No. 23-34815 (JPN)
                                         §
                                         §       Chapter 11
               Debtor.                   §
                                         §


               JETALL COMPANIES, INC.’S SUGGESTION OF BANKRUPTCY



     To the Honorable Court:

     Please take notice that on December 4, 2024, at 9:12 p.m., an Involuntary Chapter

11 Bankruptcy Petition was filed against Jetall Companies, Inc. in the United States

Bankruptcy Court for the Western District of Texas, Austin Division. A copy of the

petition is attached as Exhibit 1.

DATED: December 5, 2024                Respectfully submitted,
                                       /s/ J. Carl Cecere
                                       J. Carl Cecere
                                       Texas Bar No 24050397
                                       (admitted pro hac vice)
                                       CECERE PC
                                       6035 McCommas Blvd.
                                       Dallas, Texas 75206
                                       Tel: 469-600-9455
                                       ccecere@cecerepc.com
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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on December 5, 2024, a true and correct copy of
the foregoing was served via the Court’s CM/ECF system to all parties who are deemed
to have consented to ECF electronic service, and via email to those listed below..

Charles C. Conrad
Ryan Steinbrunner
Pillsbury Winthrop Shaw Pittman LLC
Main Street Suite 2000
Houston, TX 77002
charles.conrad@pillsburylaw.com
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Andrew M. Troop
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Kwame O. Akuffo
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1000 Facsimile: (212) 858-1500
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                                         /s/ J. Carl Cecere
                                         J. Carl Cecere




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Debtor
                 Jetall Companies, Inc.                                                       Case number t,r.11.nown)I_________________
                Name




6. Debtor's website (URL)


                                   'i4 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
1. Type of debtor
                                   D    Partnership (excluding LLP)
                                   D    Other type of debtor. Specify: _ ________ ___________________


8. Type of debtor's
                                    Check one:
   business
                                   D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                   0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                   0 Railroad (as defined in 11 U.S.C. § 101(44))
                                   0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                   D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                   0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                   "None of the types of business listed.
                                   D Unknown type of business.


9.     To the best of your
       knowledge, are any
                                   g No
       bankruptcy cases            0    Yes. Debtor _______ _____________ Relationship
       pending by or against
                                            District ____________ Date filed _______ Case number, 11 known._________
       any partner or affiliate
                                                                             MM/DD /YYYY
       of this debtor?

                                            Debtor ________ ___ __________                                        Relat1onsh1p

                                            District ___________ _ Date filed                                     Case number, if known._________
                                                                                              MM/DD/YYYY




1111.
 10. Venue
                  Report About the Case


                                    Check one:

                                    rfi Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                    0 A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


 11. Allegations                    Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    151The  debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                       fide dispute as to liability or amount.

                                    0 Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                      agent appointed or authorized to take charge of less than substantially all of the property of the
                                      debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

  12. Has there been a              0No
        transfer of any claim
        against the debtor by or     0 Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
        to any petitioner?              Rule 1003(a).


     Official Form 205                                 Involuntary Petition Against a Non-Individual                                       page 2
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